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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

TROY FATH, VINCENT PUMA,                           Civ. No.: 18-cv-01549-NEB-LIB
HIGINIO BAUTISTA and
CHRISTOPHER HAMILTON,
individually and on behalf of others                       CLASS ACTION
similarly situated,

                  Plaintiffs,
                                                      FIRST CONSOLIDATED
           vs.                                      CLASS ACTION COMPLAINT
                                                       AND JURY DEMAND
AMERICAN HONDA MOTOR CO.,
INC.,

                                Defendant.

      Plaintiffs Troy Fath, Vincent Puma, Higinio Bautista and Christopher

Hamilton bring this action against Defendant American Honda Motor Co., Inc.1

(“Defendant” or “Honda”), by and through their attorneys, individually and behalf

of all others similarly situated, and allege as follows:

                                    INTRODUCTION

      1.     This is a class action lawsuit brought by Plaintiffs on behalf of


1
  On August 10, 2018, American Honda Motor Co., Inc. and Plaintiffs entered into
an agreement whereby American Honda would be the only Honda entity that needs
to appear and respond to the complaint in exchange for American Honda’s
agreement to supply certain documents, information, and/or witnesses from other
Honda entities and to pay any final judgment, if any, against other previously-
named Honda entities, after all appeals. Further details surrounding this agreement
are memorialized in a letter between the parties. As a result of this agreement,
allegations previously made against Honda Motor Co, Ltd. and Honda North
America, Inc., have been imputed to American Honda in this Complaint.

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themselves and a class of current and former Honda vehicle owners and lessees of

model years (“MY”) 2015-18 Honda CR-V and 2016-18 Honda Civic vehicles

equipped with “Earth Dreams” 1.5L, 2.0L and 2.4L direct injection engines (the

“Class Vehicles” or “Vehicles”).2

      2.     This action arises from Honda’s failure, despite its longstanding

knowledge of this material and manufacturing defect, to disclose to Plaintiffs and

other consumers that the Class Vehicles are predisposed to an engine defect that

causes fuel dilution of the engine oil resulting in decreased oil viscosity, premature

wear and ultimate failure of the engines, engine bearings and other internal engine

components and an increased cost of maintenance (the “Engine Defect”). Such

premature failures can also result in stalling events and other dangerous situations

for Class Vehicle occupants and others on the road.

      3.     Significantly, and as a result of the Engine Defect, the engine oil within

the Class Vehicles will be caused to lose its original viscosity, meaning the

lubricating properties of the oil diminish and become less capable of withstanding

the higher loads of an internal combustion engine. This can result in contact between

metal surfaces within the engine, leading to rapid wear of internal bearings, the

rotating assembly and other internal parts that rely on lubrication to function



2
 Plaintiffs reserve the right to amend or add to the vehicle models included in the
definition of Class Vehicles after conducting discovery.

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correctly.

      4.     Not only did Honda actively conceal the fact that the Class Vehicles’

engines were not assembled and manufactured correctly (and require costly repairs

to fix), it did not reveal that the existence of this defect would diminish the

intrinsic and resale value of the Class Vehicles.

      5.     Honda has long been aware of the Engine Defect. Despite its

longstanding knowledge of this defect, Honda has been unable to adequately repair

the Class Vehicles when the defect manifests.

      6.     Many owners and lessees of Class Vehicles have communicated with

Defendant and its agents to request that Honda remedy and/or address the Engine

Defect and/or resultant damage at no expense. Defendant has failed and/or refused

to do so – often conveying to Vehicle owners and lessees that Class Vehicles are

operating as intended and therefore cannot be repaired under warranty or

otherwise.

      7.     For customers whose Vehicles are within the Power Train Warranty

period (which extends for the shorter of five years or 60,000 miles), Honda has

done nothing to address or correct the Engine Defect when it manifests in the Class

Vehicles. Instead, Honda has blamed Class members for not driving the Class

vehicles for longer distances.

      8.     Despite notice and knowledge of the Engine Defect from the



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numerous consumer complaints it has received, information received from Honda

dealerships, pre-sale durability testing, National Highway Traffic Safety

Administration (“NHTSA”) complaints, and its own internal records, Honda has

not recalled the Class Vehicles to repair the Engine Defect, offered its customers a

suitable repair or replacement free of charge, or offered to reimburse its customers

who have incurred out of pocket expenses to repair the Engine Defect.

      9.     As a result of Honda’s unfair, deceptive and/or fraudulent business

practices, owners and/or lessees of Class Vehicles, including Plaintiffs, have

suffered an ascertainable loss of money and/or property and/or loss in value. The

unfair and deceptive trade practices committed by Honda were conducted in a

manner giving rise to substantial aggravating circumstances.

      10.    Had Plaintiffs and other Class members known about the Engine

Defect at the time of purchase or lease, they would not have purchased or leased

the Class Vehicles, or would have paid substantially less for the Class Vehicles.

      11.    As a result of the Engine Defect and the considerable monetary costs

associated with attempting to repair such a defect, Plaintiffs and Class members

have suffered injury in fact, incurred damages and have otherwise been harmed by

Honda’s conduct.

      12.    Accordingly, Plaintiffs bring this action to redress Honda’s violations

of the Minnesota Prevention of Consumer Fraud Act (“MPCFA”), Florida



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Deceptive and Unfair Trade Practices Act (“FDUTPA”), California’s Consumer

Legal Remedies Act (“CLRA”), California’s Unfair Competition Law (“UCL”),

Georgia's Fair Business Practices Act (“GFBPA”) and also to seek recovery for

Defendant’s breach of express warranty, breach of implied warranty, common law

fraud, breach of the covenant of good faith and fair dealing and, alternatively,

unjust enrichment.

                          JURISDICTION AND VENUE

      13.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are

100 or more class members, (ii) there is an aggregate amount in controversy

exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal

diversity because at least one plaintiff and one defendant are citizens of different

states. This Court has supplemental jurisdiction over the state law claims pursuant

to 28 U.S.C. § 1367.

      14.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391

because Honda transacts business in this district, is subject to personal jurisdiction

in this district, and therefore is deemed to be a citizen of this district. Additionally,

Honda has advertised in this district and has received substantial revenue and

profits from its sales and/or leasing of Class Vehicles in this district; therefore, a

substantial part of the events and/or omissions giving rise to the claims occurred, in



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part, within this district.

       15.    This Court has personal jurisdiction over Honda because it has

conducted substantial business in this judicial district and intentionally and

purposefully placed Class Vehicles into the stream of commerce within the

districts of Minnesota and throughout the United States.

                                   THE PARTIES
Plaintiff Troy Fath

       16.    Plaintiff Troy Fath is a citizen of the State of Minnesota and resides in

Hermantown, Minnesota.

       17.    In or around July 2017, Plaintiff Fath purchased a new 2017 Honda

CR-V with a 1.5-liter Earth Dreams engine from Luther St. Cloud Honda, an

authorized Honda dealer and repair center located in Waite Park, Minnesota.

       18.    Plaintiff Fath purchased (and still owns) this vehicle, which is used for

personal, family and/or household uses. His vehicle bears Vehicle Identification

Number: 5J6RW2H83HL049967.

       19.    On or about January 10, 2018, with approximately 5,200 miles on the

odometer, Plaintiff Fath’s wife was traveling in the vehicle with their young

daughter. Suddenly, and without warning, the vehicle went into limp mode and the

warning lights on the dashboard illuminated. Plaintiff’s wife immediately pulled

over and contacted Plaintiff Fath. As a result, Plaintiff Fath towed the vehicle to

Krenzen Honda, an authorized Honda dealer and repair center located in Duluth,

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Minnesota for diagnosis and repair. The service advisor showed Plaintiff Fath that

the engine oil level in the vehicle was excessively high. After having the vehicle

for approximately two weeks, Krenzen Honda replaced the engine oil and filter.

      20.    In or around February 2018, with approximately 6,800 miles on the

odometer, Plaintiff Fath noticed a smell of gasoline emanating from his vehicle.

As a result, on or about February 20, 2018, he again presented his vehicle to

Krenzen Honda for diagnosis and repair. Krenzen Honda diagnosed the cause as

“GAS SMELL” and changed the engine oil and filter at no charge.

      21.    In or around April 2018, with approximately 7,600 miles on the

odometer, Plaintiff Fath noticed the engine oil in his vehicle was over the full

mark. As a result, on or about April 10, 2018, he again presented his vehicle to

Krenzen Honda. Krenzen Honda diagnosed the cause as “OIL OVER FULL” and

changed the engine oil and filter at no charge. The technician also included the

following comments on the service invoice: “CHANGED OIL AND FILTER. OIL

WAS ABOUT 1QT OVER FULL. HONDA IS IN THE PROCESS OF

CREATING A SOLUTION.”

      22.    In or around May 2018, with approximately 8,900 miles on the

odometer, Plaintiff Fath noticed the engine oil in his vehicle was contaminated

with fuel. As a result, on or about May 25, 2018, he again presented his vehicle to

Krenzen Honda. Krenzen Honda diagnosed the cause as “FUEL IN OIL” and



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changed the engine oil and filter at no charge. The technician also included the

following comments on the service invoice: “lof oil and filter change completed oil

was 9mm over full.”

      23.    Plaintiff Fath has previously contacted Defendant regarding the oil

dilution in his vehicle. Defendant has acknowledged that a problem exists but

there is currently no fix for the issue.

      24.    Plaintiff Fath has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      25.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Fath of the existence of the Engine Defect prior to purchase.

Plaintiff Vincent Puma

      26.    Plaintiff Vincent Puma is a citizen of the State of Florida and resides

in St. Augustine, Florida.

      27.    In or around November 2015, Plaintiff Puma purchased a new 2016

Honda CR-V with a 2.4-liter Earth Dreams engine from Coggin Honda of St.

Augustine (“Coggin Honda”), an authorized Honda dealer and repair center located

in St. Augustine, Florida.

      28.    Plaintiff Puma purchased (and still owns) this vehicle, which is used



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for personal, family and/or household uses. His vehicle bears Vehicle

Identification Number: 2HKRM3H39GH504975.

      29.    On or about October 31, 2016, with approximately 2,900 miles on the

odometer, Plaintiff Puma smelled gasoline in the engine’s oil and noticed an

increase in fluid level on the vehicle’s oil dipstick. As a result, Plaintiff Puma

presented his vehicle to Coggin Honda for diagnosis and repair. The service

advisor showed Plaintiff Puma that the gasoline smell in the vehicle’s engine oil

was similar to other new CR-V vehicles located at the dealership. The dealership

then replaced the engine oil and filter at a charge of $49.95 to Plaintiff Puma.

Coggin Honda did not address or document the increased fluid level regarding the

vehicle’s engine oil.

      30.    On or about September 22, 2017, with approximately 4,760 miles on

the odometer, Plaintiff Puma again smelled gasoline in the engine’s oil and noticed

an increase in fluid level on the vehicle’s oil dipstick. As a result, Plaintiff Puma

presented his vehicle to Coggin Honda for diagnosis and repair. On this occasion,

and per the notes contained on the service invoice, the Coggin Honda technician

noted: “OIL SMELLS NORMAL TO ME AT THIS TIME.” Coggin Honda,

however, did not provide an explanation for the increase in fluid level related to the

vehicle’s engine oil. The dealership then replaced the engine oil and filter at a

charge of approximately $31.12 to Plaintiff Puma. Coggin Honda did not address



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or document the increased fluid level regarding the vehicle’s engine oil.

      31.    In or around April 2018, with approximately 6,300 miles on the

odometer, Plaintiff Puma again noticed a smell of gasoline when checking the oil

and also that the oil level had again increased. As a result, Plaintiff Puma again

presented his vehicle to Coggin Honda for diagnosis and repair. On this occasion,

and per the notes contained on the service invoice, Coggin Honda acknowledged

that “REMNANT FUEL ODOR ON THESE VEHICLES ARE CREATED BY

DIRECT INJECTION FUEL SYSTEM.” Coggin Honda; however, did not

provide an explanation for the increase in fluid level related to the vehicle’s engine

oil. As a result, Coggin Honda changed the engine oil and filter at no charge. At

this time, Coggin Honda also informed Plaintiff Puma that the narrow design of the

vehicle’s crankcase would show increased fluid levels.

      32.    Plaintiff Puma has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      33.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Puma of the existence of the Engine Defect prior to purchase.

Plaintiff Higinio Bautista

      34.    Plaintiff Higinio Bautista is a citizen of the State of California and



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resides in Lake Forest, California.

      35.    In or around July 2017, Plaintiff Bautista purchased a new 2016

Honda Civic with a 1.5-liter Earth Dreams engine from Norm Reeves Honda,

(“Reeves Honda”), an authorized Honda dealer and repair center located in Lake

Forest, California.

      36.    Plaintiff Bautista purchased (and still owns) this vehicle, which is

used for personal, family and/or household uses. His vehicle bears Vehicle

Identification Number: 2HGFC1F94GH649417.

      37.    On or about June 28, 2017, with approximately 13,500 miles on the

odometer, Plaintiff Bautista was operating his vehicle when he suddenly heard a

loud ticking noise from the engine compartment. The vehicle then stalled and the

warning lights on the dash illuminated. Thereafter, Plaintiff Bautista’s vehicle

would not start or stay running.

      38.    As a result, Plaintiff Bautista had his vehicle towed to Penske Honda,

an authorized Honda dealer and repair center located in Ontario, California, for

diagnosis and repair. Penske Honda concluded that the fuel within the fuel tank of

the vehicle was contaminated and recommended Plaintiff Bautista pay to remove,

clean and reinstall the gas tank, in addition to paying for a fuel system treatment

service and replacement of the fuel injectors and high-pressure fuel pump.

Plaintiff Bautista declined these services. Thereafter, he paid Penske Honda a



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$125.00 fee for diagnosis and had his vehicle towed to Reeves Honda.

      39.    On or about August 11, 2017, Reeves Honda determined that the

intake camshaft within the engine of Plaintiff’s vehicle had broken. Reeves Honda,

with assistance of Defendant’s technical hotline, determined that plastic debris at

the head gasket area of Plaintiff’s vehicle had caused the camshaft failure. As a

result, neither Defendant nor Reeves Honda was willing to offer warranty coverage

for the engine repair. Plaintiff was forced to pay $2,087.00 to Reeves Honda for

the repair of his vehicle related to the Engine Defect.

      40.    Upon information and belief, the engine failure experienced by

Plaintiff Bautista was a result of the Engine Defect alleged in the Class Vehicles.

      41.    Plaintiff Bautista continues to notice a smell of gasoline when

checking the oil as well as an increase in oil level within the vehicle.

      42.    Plaintiff Bautista has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      43.    Neither Defendant, nor its agents, agents, dealers or other

representatives informed Plaintiff Bautista of the existence of the Engine Defect




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prior to purchase.

Plaintiff Christopher Hamilton

      44.    Plaintiff Christopher Hamilton is a citizen of the State of Georgia.

      45.    In or around June 2017, Plaintiff Hamilton purchased a new 2017

Honda Civic with a 1.5T engine from Curry Honda in Chamblee, Georgia. Plaintiff

Hamilton’s Civic came with the Engine Defect. Honda did not disclose this fact to

Plaintiff Hamilton, who greatly values vehicle safety, cost, durability,

performance, and quality.

      46.    Plaintiff Hamilton uses his Civic for travel on roads near his residence

in the Atlanta, Georgia metropolitan area.

      47.    From the date of purchase to the present, Plaintiff Hamilton has

serviced his vehicle in a timely and proper manner, including performing timely oil

changes on the vehicle.

      48.    On or about June 12, 2018, when his Civic had 10,127 miles on it,

Plaintiff Hamilton checked the engine oil and noticed that it smelled like gasoline.

      49.    Plaintiff Hamilton thereafter brought his Civic to Curry Honda and

complained of the smell of gasoline in his oil. The service advisor noted that the




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engine oil was “filled over the crank case” as detailed in the below service record:




      50.    Despite Plaintiff Hamilton’s complaint, the dealership did not admit to

the existence of the Engine Defect, and instead said that there was “no problem

found at this time.”

      51.    Plaintiff Hamilton has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      52.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Hamilton of the existence of the Engine Defect prior to




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purchase.

The Defendant

      53.    Defendant Honda is an automobile design, manufacturing,

distribution, and/or servicing corporation doing business within the United States.

Furthermore, Honda manufactures, distributes, markets, services, repairs, sells and

leases passenger vehicles, including the Class Vehicles.

      54.    Upon information and belief, the design, manufacture, distribution,

service, repair, modification, installation and decisions regarding the engines

within the Class Vehicles were performed exclusively by Honda.

      55.    Upon information and belief, Honda develops the owner’s manuals,

warranty booklets and information included in maintenance recommendations

and/or schedules for the Class Vehicles.

      56.    Honda engages in continuous and substantial business in Minnesota.

                TOLLING OF STATUTES OF LIMITATIONS

      57.    Any applicable statute(s) of limitations has been tolled by Honda’s

knowing and active concealment and denial of the facts alleged herein. Plaintiffs

and members of the Class could not have reasonably discovered the true, latent

defective nature of the Class Vehicles until shortly before this class action

litigation was commenced.

      58.    Honda was and remains under a continuing duty to disclose to



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Plaintiffs and members of the Class the true character, quality and nature of the

Class Vehicles, and to disclose that the Class Vehicles will require costly repairs

and that the resale value of the Class Vehicles is diminished. As a result of the

active concealment by Honda, any and all statutes of limitations otherwise

applicable to the allegations herein have been tolled.

                           FACTUAL ALLEGATIONS

A.    The Engine Defect Within the Class Vehicles.

      59.    The Honda CR-V was introduced in the United States in 1996. Honda

first introduced the Earth Dreams 2.4L engine in the model year 2015 CR-V.

Production of the fifth generation CR-V began in late 2016, with sales beginning

on or about December 21, 2016 as a 2017 model year. The MY 2017-18 CR-V

vehicles were offered in “EX”, “EX-L” and “Touring” trim levels and came

standard with the 1.5L turbocharged Earth Dreams engine while the “LX” trim

level came standard with the 2.4L Earth Dreams engine. (CR-V Class Vehicles).

      60.    The Honda Civic was introduced in the United States in 1972. The

tenth-generation Civic sedan, the subject of this matter, was first unveiled in

September 2015, for the 2016 model year. The MY 2016-18 Civic vehicles were

offered in “EX-T”, “EX-L”, “Touring” and “Si” trim levels and came standard

with the 1.5L turbocharged Earth Dreams engine while the “EX” and “LX” trims

came standard with the 2.0L Earth Dreams engine. (Civic Class Vehicles).



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      61.   Earth Dreams Technology is Honda's latest generation of engines

which attempt to increase fuel efficiency and reduce environmental impact. Honda

attempts to accomplish these goals in the Class Vehicles by employing variable

timing control, direct injection technology and use of an Atkinson cycle. Upon

information and belief, Honda has also implemented extensive friction reduction

measures including reduced tension piston and oil control rings. The below picture

depicts the 1.5L Earth Dreams engine contained in some of the Class Vehicles.




      62.   As background, the engines contained in the Class Vehicles use four

reciprocating pistons to convert pressure into a rotating motion. Gasoline is mixed

with air in the combustion chambers of the engine. To generate such rotating



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motion, a four-step sequence is used (the “Combustion Cycle”). First, the intake

stroke begins with the inlet valve opening and a vaporized fuel mixture being

pulled into the combustion chamber. Second, in most vehicles the compression

stroke would begin with the inlet valve closing and the piston beginning its

movement upward, compressing the fuel mixture in the combustion chamber.

However, in the Class Vehicles, the Atkinson cycle modifies that process by

leaving the intake valve open for the first moments of the compression stroke, as

the piston travels toward top dead center, which effectively lowers the compression

ratio and reduces the force on the piston during the power stroke. Third, the power

stroke begins when the spark plug ignites the fuel mixture, expanding the gases

and generating power that is transmitted to the crankshaft. And fourth, the exhaust

stroke begins with the exhaust valve opening and the piston moving back up,

forcing the exhaust gases out of the cylinder. The exhaust valve then closes, the

inlet valve opens, and the Combustion Cycle repeats itself. A diagram of a

Combustion Cycle is below:




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      63.    In the Class Vehicles, a mixture of the unburned air and gasoline is

pulled down by the piston, slipping by the piston and oil control rings, and going

directly into the crankcase, which is the protective cover that insulates the

crankshaft. This is commonly referred to as “blow-by” and it is undesirable

because the unburned gasoline in the mixture enters the engine’s crankcase and can

significantly contaminate the engine oil contained in the oil pan.

      64.    To reduce the risk of crankcase contamination and improve vehicle

emissions, the positive crankshaft ventilation (“PCV”) system was invented in the

early 1960s. The PCV system involves the recycling of these unwanted gases

through a valve (the “PCV valve”) and circulates them back into the intake

manifold, where they are pumped back into the cylinders for another chance at

being burned during the combustion cycle. A diagram of a typical PCV system is



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below:




      65.    In the Class Vehicles, the PCV system is simply inadequate to prevent

and address contamination of the crankcase. This is because the volume of

contamination is so massive due to, inter alia, (1) the increased amount of

unburned fuel in the combustion chamber; and (2) increased blow-by as a result of

the reduced piston and oil control ring tensions resulting from the effort to decrease

overall friction within the engine in the hopes of gaining greater fuel efficiency.

      66.    In the Class Vehicles, the engine pistons are connected to the

crankshaft via the connecting rods. As the connecting rods move up and down

during the Combustion Cycle, this causes the crankshaft to rotate, ultimately



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resulting in power to the drive wheels of the vehicle. During this cycle, the

crankshaft rotates many thousands of times per minute within each connecting rod.

In order to reduce friction and increase longevity, this design utilizes a bearing

placed between each connecting rod and multiple crankshaft surfaces. As a result,

the connecting rod bearings allow the crankshaft to rotate within the connecting

rods during the Combustion Cycle. An exemplar diagram of the piston, connecting

rod, connecting rod bearing and crankshaft is shown below:




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      67.    When the Class Vehicles are in operation, engine oil is used to

lubricate the piston, cylinder wall, connecting rod bearings, main bearings and

other rotating and moving components as the pistons move up and down through

the four-stroke sequence. Engine oil is necessary to reduce wear on moving parts

throughout the engine, improve sealing, and cool the engine by carrying away heat

from the moving parts. Engine oil also cleans and transports contaminants away

from the engine to the engine oil filter. Oil is pumped and pressurized throughout

the engine by the oil pump. The oil pump draws oil from the oil pan, located

underneath the pistons and crankshaft. The oil pump forces engine oil through the

oil filter and then through passages in the engine to properly lubricate and reduce

friction in internal moving engine components. The oil then returns to the oil pan



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through small drainage holes located throughout the engine where it will be

recirculated by the oil pump. Below is a diagram illustrating the typical path and

channels of engine oil lubrication in an overhead cam engine:




      68.    The Engine Defect inherent in the Class Vehicles results in the build-

up of non-combusted fuel within the engine’s oiling system. As the fuel builds up

within the oiling system, the engine oil is diluted and begins to lose its lubricating

properties. This fuel-contaminated engine oil no longer properly coats the bearing

surfaces, compromising the integrity of the oil barrier between the bearings and the

corresponding metal parts which they are designed to protect. When the Engine

Defect manifests, it results in excessive and frequent contact between the

connecting rods and connecting rod bearings, as well as the crankshaft and main

bearings. This contact causes accelerated wear within the engine and on the

bearing surfaces in the Class Vehicles.

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      69.    Additionally, the Engine Defect causes the crankcase of the Class

Vehicles to become overfilled with fuel-contaminated oil. As a result, the engine

oil level can come in contact with the crankshaft. When this happens, it is turned

(or aerated) by the crankshaft thereby becoming oxygenated and of a foamy

quality. This oxygenated oil mixture fails to lubricate effectively and will often

result in overheating as well as damage to the engine's moving parts. In some

cases, there may even be a loss of oil pressure since aerated oil can result in oil

pump cavitation. Per the below diagrams from the Owner’s Manual of a Class

Vehicle, Honda is well aware that excessive oil in the crankcase will result in

damage to the Class Vehicles:3




3
 Honda, 2017 Honda CR-V Owner’s Guide,
http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1717OG/enu/ATLA1717O
G.pdf (last visited Nov. 28, 2018).

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      70.    Regardless of this known risk, Honda instructs Class Members to

continue to drive their Class Vehicles and simply change the engine oil more

frequently, and in some instances recommends that class members change their

Vehicle’s oil every 500 miles. This results in a previously undisclosed increase in

the cost of maintenance for Class members due to the Engine Defect. Additionally,

this results in a greater impact on the environment due to the necessary and

frequent disposal of contaminated engine oil due to the Engine Defect.

B.    Honda’s Knowledge of the Engine Defect

      71.    After numerous reports of high engine oil levels and fuel smells

reported by Honda customers in northern China, where cooler temperatures are

common, Honda ordered a recall of 350,000 vehicles in February 2018.

      72.    In approximately March 2018, Honda halted the sales of the Class

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Vehicles in China, after a Chinese watchdog rejected Honda’s plan to recall the

vehicles to attempt to fix the Engine Defect.4 “The company needs to improve the

recall plans further,” the watchdog said, suggesting Honda could extend the

warranty coverage period of the affected vehicles.5 Until a new recall is agreed

upon, Honda issued a stop-sale on all new CR-Vs in China.

      73.   Similarly, on February 28, 2018 Honda Canada, Inc. sent a notice to

its Canadian dealerships regarding complaints of misfires and oil pressure

warnings in the Class Vehicles. Honda Canada further advised that these issues

have “been associated with high engine oil level due to fuel or water

contamination.” A copy of this notice is below:




4
  Norihiko Shirouzu, Honda stops selling new CR-Vs in China after recall plan
rejected, Reuters (Mar. 2, 2018, 6:41 A.M.), https://www.reuters.com/article/us-
honda-china-recall/honda-stops-selling-new-cr-vs-in-china-after-recall-plan-
rejected-idUSKCN1GE1P8.
5
  Id.

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      74.    Despite acknowledging the Engine Defect in China, Honda has not

done so in the United States and continues to deny the existence of the Engine

Defect to Class Members.

      75.    Furthermore, Honda’s failure to notify the general public or the

owners or lessees of the Class Vehicles of the Engine Defect is particularly

egregious because after the Engine Defect manifests, the Class Vehicles may suffer

catastrophic engine failure while in use, resulting in a very dangerous situation.

Drivers and occupants can even be left stranded, placing them at an increased risk

of injury.

      76.    Engines are designed to function for periods (and mileages)

substantially in excess of those specified in Honda’s warranties, and given past


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experience, consumers legitimately expect to enjoy the use of an automobile

without worry that the engine will fail for significantly longer than the limited

times and mileages identified in Honda’s warranties.

      77.    Honda markets its vehicles as particularly reliable when compared to

the competition.6

      78.    Automobiles must incorporate designs that are able to withstand

foreseeable usage conditions. A vehicle can suffer extensive damage and costly

repairs from customary environmental and usage conditions when a vehicle suffers

from a defect.

      79.    In many instances, consumers have incurred and will continue to incur

expenses for repair and/or replacement of the engines despite such Engine Defect

existing in the Class Vehicles when manufactured by Honda.

      80.    Upon information and belief, Honda, through (1) its own records of

customers’ complaints, (2) dealership repair records, (3) records from the National

Highway Traffic Safety Administration (NHTSA), (4) warranty and post-warranty

claims, (5) internal pre-sale durability testing and TSBs, and (5) other various

sources, were well aware of the Engine Defect but failed to notify customers of the

nature and extent of the problems with Class Vehicle engines or to provide any



6
 See, e.g., Honda Automobile Awards, https://automobiles.honda.com/awards (last
visited Nov. 29, 2018).

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adequate remedy.

      81.    Honda failed to adequately research, design, test and/or manufacture

the engines and PCV systems in the Class Vehicles before warranting, advertising,

promoting, marketing, and selling the Class Vehicles as suitable and safe for use in

an intended and/or reasonably foreseeable manner.

      82.    Honda is experienced in the design and manufacture of consumer

vehicles. As an experienced manufacturer, Honda conducts tests, including pre-

sale durability testing on incoming components such as engines, to verify that the

parts are free from defect and align with Honda’s specifications.

      83.    Honda’s pre-sale durability testing includes five metrics that allegedly

“ensure high quality” by conducting “comprehensive quality assurance activities

from the dual perspectives of design and manufacturing.”7 Honda admits that its

“production departments implement manufacturing controls to keep variability

within applicable standards based on drawings and develop production processes

so that all workers can continue to achieve a consistent level of quality.”8 Thus,

Honda knew or should have known of the Engine Defect through its



7
  Honda, Quality Initiatives,
https://web.archive.org/web/20170719214241/http://world.honda.com/sustainabilit
y/quality/initiative/design-development-production/ (site indexed by
web.archive.org on July 19, 2017) (last visited Nov. 29, 2018). See also Exhibit A,
pp. 54-55, 60.
8
  Id.

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comprehensive quality assurance activities and manufacturing controls.

           84.   First, Honda’s “engineers utilize a database of measures and

techniques previously used to prevent market quality issues and other information

as they communicate closely with manufacturing departments during the initial

development stage. Product function, performance and quality assurance initiatives

are committed to writing and are shared to ensure efforts are coordinated with

production departments’ process assurance activities and to coordinate quality

assurance initiatives.”9

           85.   Second, “Honda’s production departments establish manufacturing

control items and criteria for each part, process, and operation to prevent product

quality issues.” These controls are explicitly put in place to “prevent product

quality issues” whereby Honda’s engineers “use these manufacturing control items

and criteria to verify manufacturing variability as they work to prevent quality

issues.”10

           86.   Third, for outsourced parts, Honda visits its suppliers’ manufacturing

facilities to conduct quality audits based on the “‘Three Reality Principle,’ which

emphasizes ‘going to the actual place,’ ‘knowing the actual situation’ and ‘being

realistic.’” Honda uses “[e]xperts in the development and production of individual



9
    Id.
10
     Id.

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parts [to] visit manufacturing facilities and conduct audits of suppliers’ quality

systems and their implementation.”11

      87.    Fourth, and perhaps most importantly, Honda assures long-term

reliability of its parts and vehicles through “meticulous durability testing.” Honda

states the following about this metric:

      Honda subjects new and redesigned models to a rigorous regimen of
      long-distance durability testing before beginning mass production to
      verify that there are no quality issues.

      We also disassemble vehicles used in the test drives into every single
      part and verify that there are no quality issues through a process
      consisting of several thousand checks. By accumulating data on the
      issues discovered through these test drives and detailed inspections as
      well as associated countermeasures, we are able to ensure a high level
      of quality and reliability.12

      88.    Fifth, Honda developed and implemented the “Line End Tester,” an

inspection and diagnostic system that is used “in shipping quality inspections of all

electronic control systems, from switches and instruments to air conditioner, audio,

engine and transmission operations.”13

      89.    Through these quality control metrics, Honda knew or should have

known that the engines in the Class Vehicles were defective.

      90.    Lastly, as explained in Honda’s Sustainability Report:

      When Honda determines that an issue occurs with a product that requires

11
   Id.
12
   Id. (emphasis added).
13
   Id.

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      market action, it quickly reports the issue to government authorities in
      accordance with countries’ regulations and contacts owners by means of
      direct mail from dealers or by telephone to provide information about how
      they can receive free repairs. Associated information is also provided on
      Honda’s website and through the news media as necessary.14

      91.    Despite such assurances and procedures, Honda has not contacted

Class Members by direct mail or telephone to inform them how they can receive

free repairs related to the Engine Defect within the United States. Additionally,

upon information and belief, Honda has also not provided associated information

regarding the Engine Defect on its website or through the news media.

      92.    Per the warranty outlined below, Honda also expressly warranted the

Class Vehicles to be free from defects for a period of three years or 36,000 miles

under the New Vehicle Limited Warranty and 5 years or 60,000 miles under the

Powertrain Limited Warranty.15 Both warranties are applicable to the Engine

Defect; however, Honda has failed to correct the issue.




14
   Honda, 2018 Sustainability Report,
https://world.honda.com/sustainability/report/pdf/2018/Honda-SR-2018-en-065-
078.pdf (last visited Nov. 29, 2018).
15
   Honda, 2018 Honda Warranty Basebook,
http://owners.honda.com/Documentum/Warranty/Handbooks/2018_Honda_Warra
nty_Basebook_AWL05251_FINAL.pdf (last visited Nov. 29, 2018).


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      93.    Buyers, lessees, and other owners of the affected Vehicles were

without access to the information concealed by Honda as described herein, and

therefore reasonably relied on Honda’s representations and warranties regarding

the quality, durability, and other material characteristics of the Vehicles. Had these

buyers and lessees known of the defect and the potential harm, they would have

taken steps to avoid that harm, and/or would have paid less for the Vehicles than

the amounts they actually paid, or would not have purchased the Vehicles.

C.    Complaints by Other Class Members.

      94.    Plaintiffs’ experiences are by no means an isolated or outlying

occurrence. Indeed, the internet is replete with examples of blogs and other

websites where consumers have complained of the exact same Engine Defect

within the Class Vehicles.16

      95.    Class Vehicle owners have publicly complained to the United States

government about the Engine Defect in Class Vehicles since the vehicle has been

released. The Office of Defects Investigation (ODI) is an office within the National

Highway Traffic Safety Administration (NHTSA). ODI conducts defect

investigations and administers safety recalls to support the NHTSA’s mission to




16
   See, e.g., Car Problems, Other Fuel System Problems of the Honda CR-V – part
1, http://www.carproblemzoo.com/honda/cr-v/other-fuel-system-problems.php
(last visited Nov. 29, 2018).

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improve safety on the Nation’s highways. 17 All automobile manufacturers

routinely monitor and analyze NHTSA complaints because this information is used

in determining if a recall should be issued.

        96.    The following is just a small sampling of the many complaints

submitted to ODI by Honda CR-V owners. These publicly available complaints,

filed as early as March 2016, evidence Honda’s prior knowledge of the Engine

Defect, the negative experiences encountered by Class Members, and the financial

burden placed on them.



     NHTSA ID Number: 10864030
     Date of Incident: 03/22/2016
     Consumer Location: FOX POINT, WI
     Vehicle Identification No. (VIN): 5J6RM4H74GL...
     SUMMARY:
     THE CABIN OF MY BRAND NEW VEHICLE FILLS WITH GAS FUMES RANDOMLY
     WHILE THE ENGINE IS RUNNING. THE FUMES FILL THE CABIN WHILE IDLING,
     STARTING, AND DRIVING DOWN THE ROAD. THE FUMES ARE VERY STRONG
     AND I DO NOT FEEL SAFE DRIVING THIS VEHICLE FOR ANY DISTANCE. THE
     HONDA DEALERSHIP SERVICE DEPARTMENT AND THE HONDA TECH CENTER
     ARE AWARE OF THE PROBLEM BUT DO NOT HAVE A REMEDY.


     NHTSA ID Number: 11084545
     Date of Incident: 09/13/2016


17
  See NHTSA, Motor Vehicle Defects and Safety Recalls: What Everyone Should
Know, https://www-odi.nhtsa.dot.gov/recalls/recallprocess.cfm (last visited Nov.
29, 2018). Indeed, automobile manufacturers are required by law to report any
potential safety defects to the United States government.

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Consumer Location: WAUWATOSA, WI
Vehicle Identification No. (VIN): 2HKRM4H73GH...
SUMMARY:
GAS FUMES IN PASSENGER CABIN. WE GET GAS FUMES IN THE PASSENGER
CABIN ON A REGULAR BASIS. NO GAS LEAKING ON GROUND THAT WE CAN
SEE. HAPPENS MORE OFTEN AFTER CAR HAS BEEN IDLING FOR A BIT. GAS
FUMES STAY IN CABIN WHILE DRIVING.


NHTSA ID Number: 11075842
Incident Date November 20, 2017
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H5XHL****
Summary of Complaint
GAS IS MIXING IN THE OIL OF OUR NEW 2017 HONDA CR-V. THE 1.5 LITER
ENGINE DOES NOT WARM UP SUFFICIENTLY IN COLD WEATHER, RUNS RICH,
AND LEAVES UN-COMBUSTED GAS IN THE OIL. THIS TRIGGERS ENGINE
WARNING LIGHTS AND REQUIRES FREQUENT OIL CHANGES. ENGINE
PERFORMANCE AND DRIVABILITY SUFFER. THIS PROBLEM IS ALSO BEING
REPORTED ON SOCIAL MEDIA BY OTHER HONDA CR-V OWNERS WHO DRIVE
IN COLDER CLIMATES. WE ARE CONCERNED THAT IT IS CAUSING LONG TERM
DAMAGE TO THE ENGINE OF OUR NEW VEHICLE. I CAUTION PROSPECTIVE
BUYERS TO POSTPONE THE PURCHASE OF A 2017 OR NEWER HONDA CR-V
WITH THE 1.5 LITER ENGINE UNTIL HONDA SOLVES TO THIS PROBLEM. THE
FIFTH GENERATION CR-V IS AN EXCELLENT CAR IN MANY RESPECTS, BUT
THIS IS A MAJOR PROBLEM. I CANNOT RECOMMEND THE CAR,
PARTICULARLY TO THOSE WHO DRIVE IN COLDER CLIMATES, UNTIL A FIX IS
FOUND.
REUTERS REPORTED IN FEBRUARY THAT HONDA HAS ANNOUNCED A RECALL
OF 350,000 CR-V'S IN CHINA FOR WHAT APPEARS TO BE A SIMILAR ISSUE.
WE'VE DRIVEN OUR CAR FOR ABOUT SIX MONTHS, AND IT HAS LESS THAN
2,000 MILES ON IT. WE TYPICALLY USE THE CAR FOR SHORT DRIVES WITHIN
THE CITY. OUR CAR WAS AT THE DEALER FOR OVER TWO WEEKS WHEN THE
PROBLEM FIRST OCCURRED. A FIELD REP FROM HONDA WAS SENT OUT TO
THE DEALER TO TRY TO ASSIST. SENSORS AND FUEL INJECTORS WERE
REPLACED. THE OIL AND FILTER WAS CHANGED. AT THIS TIME OUR ENGINE
HAD LESS THAN 1100 MILES ON IT.
THESE REPAIRS DID NOT CORRECT THE PROBLEM. IN MID-JANUARY THE
ENGINE WARNING LIGHTS WERE TRIGGERED AGAIN. OUR DEALER NOTED
THE SMELL OF GAS IN OUR OIL AND ONCE AGAIN CHANGED THE OIL AND


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FILTER. WE HAD LESS THAN 1500 MILES ON THE CAR FOR THIS SERVICE.
HONDA DOES NOT APPEAR TO HAVE A SOLUTION TO THIS PROBLEM. THE OIL
AND FILTER CHANGES ARE A BANDAID, AND LONG TERM DAMAGE MAY BE
OCCURRING TO OUR ENGINE. HONDA MAY HAVE A MAJOR PROBLEM ON ITS
HANDS WITH THE 1.5 LITER ENGINE.


NHTSA ID Number: 11072826
Date of Incident: 12/19/2017
Consumer Location: HAYWARD, WI
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
GAS IN GETTING IN CRANKCASE OIL ON BRAND NEW ENGINE. STARTED FROM
DAY ONE. IT IS WASHING DOWN CYLINDER WALLS,, DILUTING THE OIL AND
CAUSING PREMATURE ENGINE FAILURE. I AM SCARED TO DEATH IT WILL
BLOW UP AT HIGHWAY SPEEDS AND CAUSE MY DEATH.


NHTSA ID Number: 11076415
Incident Date January 6, 2018
Consumer Location SILVER BAY, MN
Vehicle Identification Number 2HKRW2H80HH****
Summary of Complaint
JANUARY 6TH, 2018 CAR SMELLED OF EGGS AND GAS. DROVE CAR 70 MILES
THE EMMISIONS AND ENGINE LIGHT CAME ON AND CAR WAS TOWED FROM A
BUSY HWY 61 MN TO HONDA SERVICE CENTER. THEY HAD CRV FOR 3 WEEKS.
CHANGED OIL & PROGRAMMED INJECTORS THE OIL HAD 1QUART OVER OF
GAS MIXED INTO THE OIL. 700 MILES LATER AND CAR NOW HAS GAS MIXED
INTO OIL AGAIN AND OVER THE ORANGE DIPSTICK AND SMELLS OF VERY
STRONG GAS. A SERVICE APPOINTMENT MADE FOR MARCH 14TH, 2018 FOR
OIL CHANGE, RATTLE IN THE DASH BEHIND HEAD UNIT AND THE HEAT
PROBLEM AS WELL. THE NO HEAT FOR WINTER DRIVING WITH FROZEN
WINDSHIELD BEFORE DRIVING AND WHILE DRIVING IS VERY DANGEROUS!
BREAKING DOWN ON A INTERSTATE HWY IS ALSO DANGORUS WAITING 4
HOURS WITH NO HEAT IN CAR AT -1 TEMP WAITING FOR TOW IS DANGORUS.
NOT HAPPY ABOUT THIS AT ALL!


NHTSA ID Number: 11098079


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Date of Incident: 01/10/2018
Consumer Location: MILLVILLE, NJ
Vehicle Identification No. (VIN): 2HKRW2H51HH...
SUMMARY:
I HAVE HAD THE BRAKES ENGAGE TWICE THROUGH THE COLLISION
AVOIDANCE SYSTEM WITH NO OTHER VEHICLES AROUND ME.DANGEROUS
AS I COULD BE REAR ENDED.AND THE OIL LEVEL RISES WITH FUEL DILUTION
AND GAS FUMES ENTER THE PASSENGER COMPARTMENT.VEHICLE MISFIRED
AND SHUTDOWN ON HIGHWAY DANGEROUS SITUATION AND BREATHING
GAS FUMES.


NHTSA ID Number: 11081970
Date of Incident: 02/05/2018
Consumer Location: CINNAMINSON, NJ
Vehicle Identification No. (VIN): 2HKRW2H58HH...
SUMMARY:
THE 1.5 TURBO ENGINE'S ALL EXPERIENCE A COOLANT HEATING UP UNDER
32DEGREES F PROBLEM. AT IDLE THE TEMPERATURE COOLS DOWN AND
HEATER DOES NOT SUPPLY WARM AIR. ALSO THE ENGINE OIL IS BEING
DILUTED BY AN OVERLY RICH MIXTURE CAUSING UNBURNED GAS TO ENTER
THE CRANKCASE DILUTING THE ENGINE OIL AND CAUSING ENGINE DAMAGE.
DEALER HAS NO CLUE WHEN I TOOK IT IN TO WHY SO I HAVE TO CHANGE OIL
EVE3RY 1000 MILES TO PROTECT THE ENGINE


NHTSA ID Number: 11072515
Date of Incident: 02/13/2018
Consumer Location: BURLINGTON, MA
Vehicle Identification No. (VIN): 5J6RM4H43GL...
SUMMARY:
FROM NEW, THE CABIN FILLS WITH NOXIOUS GAS FUMES. HONDA
DEALERSHIP SAYS HONDA IS AWARE OF THE PROBLEM BUT WILL NOT DO
ANYTHING TO FIX IT AS THEY ARE UNAWARE OF A FIX. UNACCEPTABLE
FROM HONDA




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NHTSA ID Number: 11097244
Incident Date February 14, 2018
Consumer Location BRIDGEWATER, VA
Vehicle Identification Number 2HKRW2H52HH****
Summary of Complaint
OIL/DILUTION ON DIP STICK. GAS SMELL ON DIP STICK. OVERFILLED DIP
STICK.


Date of Incident: 02/20/2018
NHTSA ID Number: 11081944
Consumer Location: LOS ANGELES, CA
Vehicle Identification No. (VIN):
SUMMARY:
ENGINE OIL IS OVERFILLING AND BEING DILUTED WITH GAS. STRONG GAS
SMELL. WHEN CHANGING OIL, MORE THAN WHAT WAS NEEDED TO FILL
ENGINE OIL TO FULL


NHTSA ID Number: 11078754
Incident Date February 22, 2018
Consumer Location ASHLAND, WI
Vehicle Identification Number 5J6RW2H8XHL****
Summary of Complaint
I PURCHASED A 2017 CRV FROM ASHLAND HONDA AND TOYOTA IN ASHLAND,
WI IN AUGUST 2017. ON FEBRUARY 23, 2018, MY CAR WHICH HAS 5500 MILES
ON IT, STARTED MAKING A HORRIBLE NOISE AND BEGAN LOSING POWER
WHILE ON THE HIGHWAY. THE NOISE CONTINUED THROUGHOUT THE
WEEKEND. WE MADE AN APPOINTMENT WITH ASHLAND HONDA AND
TOYOTA TO SERVICE THE CALL.
HONDA CORPORATE AND THE SERVICE MANAGER (JERRY) AT ASHLAND
HONDA AND TOYOTA DETERMINED THROUGH VIDEO CHATS AND
CONFERENCE CALLS THAT THE CAMS WERE DESTROYED IN MY ENGINE.
THEY BELIEVE THIS HAD TO DO WITH FUEL AND OIL MIXING AND GETTING
INTO THE ENGINE. HONDA REQUESTED THAT ASHLAND HONDA REPLACE THE
HEAD OF THE ENGINE. THEY HAVE NO FIX FOR THE PROBLEM WITH THE FUEL
AND OIL MIXING AND DESTROYING THE ENGINE. THE SERVICE MANAGER


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SAID BECAUSE THE GOVERNMENT IS INVOLVED DUE TO EMISSIONS, THIS
ISSUE WILL BE CONTINUING, AND AT THIS TIME THERE IS NO FIX. HE ALSO
STATED THAT CORPORATE INFORMED HIM THIS WAS A REGIONAL ISSUE DUE
TO OUR CLIMATE, AND THEY ARE CURRENTLY TRYING TO FIGURE OUT A
SOFTWARE FIX FOR THE PROBLEM. NO RESOLUTION AT THIS POINT.
CORPORATE FURTHER STATED THAT THEY ARE SEEING THIS ISSUE WHEN
THE TEMPERATURE IS BETWEEN 10 AND 30 DEGREES. I WAS OFFERED A
100,000 EXTENDED WARRANTY AND RECOMMENDED THAT I GO TO THE
DEALER EVERY 500 MILES TO GET AN OIL CHANGE TO SEE IF FUEL IS MIXING
WITH THE OIL. SHOCKED AT THE LACK OF RESOLUTION, I ASKED THE
SERVICE MANAGER IF HONDA CORPORATE WAS COMFORTABLE GIVING ME
MY CAR BACK AFTER THE CAMS WERE REPLACED WITH NO RESOLUTION,
AND HE SAID YES.
I DO NOT BELIEVE THIS IS ETHICAL AT ALL FOR HONDA TO NOT HAVE A FIX
TO AN ENGINE PROBLEM THAT COULD ENDANGER MYSELF AND/OR MY
FAMILY. THE CAR ENGINE IS BEING REPLACED WHEN PARTS ARE DELIVERED.
AGAIN, NO RESOLUTION TO THE PROBLEM WITH THE OIL AND GAS
COMBINING AND FIXING ISSUE.


NHTSA ID Number: 11079561
Incident Date March 8, 2018
Consumer Location ACTON, MA
Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
I PURCHASED A 2017 HONDA CRV-EX WITH THE 1.5 TURBO ENGINE IN
NOVEMBER 2017 AND PLAN TO GIVE THIS CAR TO MY NIECE AS A
GRADUATION PRESENT IN 2019. I TOOK IT FOR ITS FIRST OIL CHANGE, AT 137
MILES, AND THE DEALER TOLD ME THAT THERE WAS GASOLINE IN THE OIL.
AFTER THE OIL CHANGE, I RESEARCHED THE ISSUE AND DISCOVERED THAT
MANY PEOPLE (2017 HONDA CRV OWNERS WITH THE 1.5 TURBO ENGINE) IN
THE USA HAD THIS PROBLEM. THE DETAILS ARE LISTED IN THE HONDA
FORUMS AND ON EDMUNDS. I ALSO SAW THAT HONDA WAS RECALLING 350K
2017-2018 CRVS WITH THE 1.5 TURBO ENGINE , IN CHINA, AS THE SOFTWARE
NEEDED TO BE UPDATED. IT APPEARS THAT THE FUEL EJECTORS WERE
SUPPLYING TOO MUCH GASOLINE AND THE RESIDUAL GASOLINE WAS
LEAKING AROUND THE CYLINDERS INTO THE OIL. I REQUESTED HONDA-USA
TO GET ACCESS TO THIS SOFTWARE UPDATE VIA MY LOCAL DEALER (BOCH
HONDA WEST IN WESTFORD, MA). IT IS MY UNDERSTANDING THAT THE
SOFTWARE UPDATE IS AVAILABLE. HONDA-USA SENT ME A RESPONSE
INDICATING THAT THERE WAS NO RECALL ON MY VEHICLE AND I SHOULD
GO BACK TO THE DEALER. I HAVE CALLED THE DEALER, AGAIN, BUT THEY
CANNOT DO MUCH WITHOUT THE SOFTWARE UPDATE. I TOLD HONDA-USA


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THAT THIS PROBLEM IS VERY CONCERNING FOR THE FUTURE OF THE ENGINE
REMINDED THEM THAT THEIR DEALER FOUND THE PROBLEM OF GASOLINE
IN THE ENGINE AND THAT BOTH I AND THE DEALER WERE CONCERNED. MY
CASE NUMBER WITH HONDA IS 07116734. SOME OF THE WEB SITES (LINKS)
THAT FURTHER DEFINE THE PROBLEM ATE AS FOLLOW: 1)
HTTPS://WWW.REUTERS.COM/ARTICLE/US-HONDA-CHINA-RECALL/HONDA-
STOPS-SELLING-NEW-CR-VS-IN-CHINA-AFTER-RECALL-PLAN-REJECTED-
IDUSKCN1GE1P8 2) HTTP://WWW.CRVOWNERSCLUB.COM/FORUMS/14-
PROBLEMS-ISSUES/170193-POTENTIAL-MAJOR-ISSUE-2017-CR-V-GASOLINE-
GETS-INTO-ENGINE-OIL-TANK.HTML 3)
HTTPS://FORUMS.EDMUNDS.COM/DISCUSSION/50438/HONDA/CR-V/NEW-CR-V-
COLD-WEATHER-RUNS-RICH-GAS-IN-OIL-MULTIPLE-COMPLAINTS


NHTSA ID Number: 11081991
Date of Incident: 03/08/2018
Consumer Location: HUNTLEY, IL
Vehicle Identification No. (VIN): 5J6RW2H80HL...
SUMMARY:
WE PURCHASED OUR HONDA CRV EX-L IN OCTOBER OF 2017, WITHIN 5
MONTHS WE NOTICED A STRONG GASOLINE SMALL IN OUR CABIN. ONE DAY I
CHECKED THE OIL LEVEL BY PULLING THE DIPSTICK AND NOTICED THAT
THE OIL LEVEL WAS 1 FULL INCH ABOVE THE FULL MARK. I ALSO NOTICED
THAT THE OIL ON THE DIPSTICK REEKED OF GAS AND WAS VERY DARK AND
WATERY. I IMMEDIATELY DID A GOOGLE SEARCH OF THIS ISSUE, KNOWING
THAT OUR LAST OIL CHANGE WAS LESS THAN 3,000 MILES AGO FROM OUR
LOCAL HONDA DEALER AND I WAS SHOCKED WITH THE RESULTS.
THOUSANDS OF OWNERS WITH THE 2017-2018 CRV WITH THE 1.5 LITER TURBO
ENGINE ARE HAVING THIS EXACT SAME ISSUE. THE ISSUE IS CALLED OIL
DILUTION AND A LARGE AMOUNT OF GAS IS GETTING INTO THE OIL BUT THE
REASONS ARE UNKNOWN. I IMMEDIATELY CALLED MY LOCAL DEALER AND
HAD MY CAR IN THE NEXT DAY. THEY CLAIMED THEY HAVE NEVER SEEN
ANYTHING LIKE THIS BEFORE AS MY OIL HAD SO MUCH GASOLINE IN IT
THAT IT POURED OUT LIKE WATER. THEY SCHEDULED A CALL WITH HONDA
ENGINEERS THE FOLLOWING MONDAY AND THEY WERE ADVISED TO
CHANGE THE OIL AND DRIVE THE CAR AGAIN. THEY DID SO AND THE GAS
VOLUME FILLED UP VERY QUICKLY IN THE NEW OIL SO THE NEXT STEP WAS
TO REPLACE THE FUEL INJECTORS. BASED ON MY RESEARCH ONLINE MANY
OTHER OWNERS HAVE HAD THE SAME PROCEDURE PERFORMED WHICH
DIDN'T FIX THE ISSUE. HOWEVER THE INJECTORS WERE REPLACED ON MY
CAR AND THE VEHICLE WAS GIVEN BACK TO ME, CLAIMED TO HAVE BEEN
FULLY FIXED. NEEDLESS TO SAY LESS THAN 2 WEEKS AFTER I GOT MY
VEHICLE BACK I CHECKED THE OIL LEVEL AND ONCE AGAIN IT'S WELL


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ABOVE THE FULL MARK WITH A STRONG SMELL OF GASOLINE. I'VE CALLED
HONDA CORPORATE AND THEIR CUSTOMER SERVICE JUST PLAIN SUCKS.
LACK OF EMPATHY, LACK OF ACKNOWLEDGEMENT OF THIS BEING A
WIDESPREAD ISSUE AND NO RESOLUTION OF CONCERNS. I'M CURRENTLY
FIGHTING WITH THEM, PLEADING TO GET A EXTENSION ON THE POWERTRAIN
WARRANTY AS THERE IS NO DOUBT THAT ENGINE DAMAGE HAS ALREADY
OCCURRED


NHTSA ID Number: 11080270
Incident Date March 17, 2018
Consumer Location LIVERPOOL, NY
Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
GAS IS LEAKING INTO CRANKCASE AND DILUTING THE ENGINE OIL
THEREFORE RAISING THE OIL LEVEL ABOVE THE MAX FILL LINE. ENGINE OIL
HAS GAS ODOR AND OIL SEEMS THINNER DUE TO DILUTION WITH GASOLINE.


NHTSA ID Number: 11080300
Incident Date March 16, 2018
Consumer Location RALEIGH, NC
Vehicle Identification Number 7FARW1H91HE****
Summary of Complaint
THE OIL LEVEL IN THE CRANK CASE CONTINUALLY RISES AND SMELLS
STRONGLY OF GASOLINE. WITHIN 5000 MILES, AND 40% OIL LIFE ACCORDING
TO THE MAINTENANCE MINDER, IT HAD RISEN WELL ABOVE THE MAX LINE
ON THE DIP STICK.


NHTSA ID Number: 11081407
Incident Date March 18, 2018
Consumer Location WILLIAMSPORT, PA
Vehicle Identification Number 2HKRW2H94HH****
Summary of Complaint
MY CAR IS A 2017 HONDA CRV TOURING WITH THE 1.5 LITER TURBOCHARGED
ENGINE AND 3200 MILES. ON 3/18/2018 I WAS DRIVING AT 70MPH ON


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INTERSTATE 180 IN PENNSYLVANIA WHEN THE CAR SUDDENLY SLOWED,
LOST POWER, THE CHECK ENGINE LIGHT CAME ON, AND MULTIPLE
ELECTRICAL SYSTEMS REPORTED MALFUNCTIONS IN THE DASH DISPLAY.
THE CAR WAS TOWED TO THE HONDA DEALER AND DIAGNOSED WITH
EXCESS GAS (APPROXIMATELY ONE QUART) IN THE OIL. THE OIL AND FILTER
WAS CHANGED AS A TEMPORARY SOLUTION, AND A TECH LINE CASE (REF #
4089104) WAS OPENED WITH HONDA. I WAS TOLD AT THIS TIME THERE IS NO
PERMANENT RECALL OR FIX. I WAS ADVISED THAT THIS IS A KNOWN
PROBLEM IN COLD CLIMATES WHERE THE CAR IS USED FOR SHORT DRIVES
AND DOES NOT WARM UP COMPLETELY. SINCE THEN I HAVE LEARNED THAT
ALL CRVS WITH THE 1.5 LITER TURBOCHARGED ENGINE HAVE BEEN
RECALLED IN CHINA FOR THE SAME PROBLEM.


NHTSA ID Number: 11080313
Date of Incident: 03/19/2018
Consumer Location: HILLSBORO, OR
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
I CHECKED THE LEVEL OF THE OIL ON THE DIPSTICK AND THE LEVEL SHOWS
AS BEING HIGH, PAST THE 'FULL" REFERENCE POINT WITH A FEW
MILLIMETERS. ALSO, THE OIL HAS A STRONG GAS ODOR. THE MILEAGE ON
THE ENGINE IS 8454, AND THE FIRST OIL CHANGE WAS PERFORMED AT 6547
MILES, 2 MONTHS AGO.


NHTSA ID Number: 11098691
Date of Incident: 04/06/2018
Consumer Location: PLAINVIEW, MN
Vehicle Identification No. (VIN): 5J6RW2H51HL...
SUMMARY:
DURING THE FIRST OIL CHANGE WE REMOVED OVER 5 QUARTS OF LIQUID.
THE OWNERS MANUAL STATES THAT THE CAR HOLDS ONLY 3.7 QUARTS OF
OIL. WE CONTACTED THE DEALERSHIP WE BOUGHT IT FROM AND THEY
INFORMED US THAT THIS IS A KNOWN ISSUE FOR THE 2017 HONDA CR-V. GAS
IS GETTING INTO THE OIL. I AM NOW GETTING FREE OIL CHANGES, THEY
STATED I SHOULD COME IN FOR AN OIL CHANGE WHENEVER THE LIQUID
RISES ABOVE THE FILL LINE ON THE DIPSTICK. I HAVE MANAGED TO GET AN
OIL CHANGE EVERY 7010 DAYS SINCE APRIL 12, 2018. THE LAST OIL CHANGE I



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HAD THERE WAS AT LEAST 1 QUART OF GAS IN THE OIL DRAINED OUT OF THE
RESERVOIR. THAT WAS 10 DAYS AFTER THE LAST OIL CHANGE. I HAVE
CONTACTED HONDA NUMEROUS TIMES AND THE ONE TIME I ACTUALLY
TALKED TO MY CASE MANAGER SHE TOLD ME THAT IT WAS NORMAL
OPERATION AND HONDA IS NOT CONSIDERING THIS AN ISSUE. EVERYTHING I
HAVE READ SO FAR STATES THAT EXCESS GAS IN THE OIL IS AN ISSUE AND
VERY BAD FOR THE ENGINE. I AM CONCERNED THAT MOST CONSUMERS WHO
PURCHASED A 2017 HONDA CR-V ARE NOT AWARE OF THIS ISSUE.


NHTSA ID Number: 11096603
Incident Date April 17, 2018
Consumer Location SUPERIOR, CO
Vehicle Identification Number 2HKRW2H89HH****
Summary of Complaint
I BOUGHT THIS 2017 CRV EXL-NAV AWD IN 05/2017. WE DID THE FIRST
MAINTENANCE ON MARCH 17 TO CHANCE OIL AT 8000 MILES. THERE IS OIL
LEAKAGE, I WILL TALK THIS ON ANOTHER COMPLAINT. I HEARD THAT THERE
IS OIL EXCESSIVE PROBLEM ON THIS 1.5T ENGINE, SO I CHECKED THE ENGINE
OIL LEVEL AT ABOUT 8800 MILES AND FOUND THAT THE OIL LEVEL IS MORE
THAN 10MM HIGHER THAN THE MAXIMUM MARK ON THE LIPSTICK. I
BROUGHT THE CAR TO DEALER AND THEY SAID IT IS FINE. I AM VERY UPSET
WITH THEIR ANSWER. I HAVE ATTACHED THE PHOTO, THE OIL LEVEL IS
EXCEEDING THE ORANGE PLASTIC TO THE METAL PART. ACTUALLY CRV HAS
BEEN STOPPED FOR SALE IN CHINA FOR 2 MONTHS UNTIL HONDA INITIATE A
RECALL AND EXTEND THE WARRANTY TO 6 YEARS. RELIABILITY IS THE
MAIN REASON I BOUGHT HONDA, NOW I AM SO DISAPPOINTED. WILL NOT
CONSIDER ANY HONDA UNLESS THEY OFFER A SATISFACTORY SOLUTION.


NHTSA ID Number: 11092048
Incident Date May 2, 2018
Consumer Location NASHVILLE, TN
Vehicle Identification Number 2HKRW2H51HH****
Summary of Complaint
MY NEW 2017 HONDA CRV EX THAT ONLY HAS 6850 MILES DRIVEN ON IT HAS
A TERRIBLE DEFECT WITH OIL DILUTION ISSUES DUE TO FUEL LEAKING INTO
THE OIL PANS CAUSING OVERFLOW AND DILUTION TO THE OIL THAT IS
SUPPOSED TO BE LUBRICATING THE ENGINE. THE OIL SMELLS VERY POTENT
OF FUEL AND ALMOST 1 QUART OF EXTRA FLUID WAS DRAINED FROM THE


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OIL PAN WHEN TAKEN INTO THE DEALER AFTER REPORTING THE ISSUE. THE
DEALER AGREED THAT THERE WAS A MAJOR ISSUE WITH FUEL DILUTING
INTO THE OIL BUT WERE TOLD BY THE HONDA CORPORATE TECH LINE THAT
THEY WERE TO JUST REPLACE THE OIL UNTIL A FIX COMES OUT. THE DEALER
TECHNICIANS ASKED ABOUT CHANGING THE FUEL INJECTORS OR MAYBE A
CYLINDER HEAD REPLACEMENT BUT WERE TOLD NOT TO DO ANYTHING. IT
IS NOT SAFE TO RELEASE THESE CARS BACK TO THE OWNER KNOWING
THERE IS AN DEFECT ISSUE THAT THEY DIDN'T EVEN REALLY ATTEMPT TO
FIX THAT IS CAUSING INTERNAL ENGINE PARTS TO BREAK DOWN FASTER
THAN NORMAL AND COULD CAUSE SERIOUS SAFETY CONCERNS DUE TO
EVENTUAL BREAKDOWNS LEADING TO WRECKS. THE COMPANIES "FIX" IS TO
GO IN FOR AN OIL CHANGE EVERY 500-1000 MILES EVEN THOUGH EXCESSIVE
FUEL IS STILL MIXING WITH THE OIL. HONDA HAS REPORTED THAT THIS IS
HAPPENING IN COLDER CLIMATES, BUT I AM STILL HAVING MAJOR ISSUES
WITH THIS IN TENNESSEE WEATHER.


NHTSA ID Number: 11090588
Incident Date May 4, 2018
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H89HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO DAMAGE TO THE
ENGINE. *LD
THE CONSUMER WAS ADVISED THAT GASOLINE WAS MIXING WITH ENGINE
OIL. *JS


NHTSA ID Number: 11093050
Incident Date May 9, 2018
Consumer Location KENMORE, NY
Vehicle Identification Number 5J6RW2H84HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO OIL DILUTION AND
GAS FUME PROBLEM. *LD


NHTSA ID Number: 11098362
Incident Date May 21, 2018


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Consumer Location VACAVILLE, CA
Vehicle Identification Number 5J6RW1H88HL****
Summary of Complaint
I HEARD THAT THERE IS OIL LEVEL INCREASE PROBLEM ON THIS MAKE,
MODEL, AND YEAR'S ENGINE BECAUSE OF FUEL LEAK, SO I CHECKED THE
ENGINE OIL LEVEL A FEW HUNDRED MILES AFTER CHANGING THE OIL AND
FOUND THAT THE OIL LEVEL IS MUCH HIGHER THAN THE MAXIMUM MARK
ON THE DIPSTICK. I BROUGHT THE CAR TO DEALER PREVIOUSLY,
COMPLAINING OF A SMELL OF GAS IN THE OIL WHEN I CHECKED IT
INITIALLY, AND THEY SAID IT IS FINE, THAT NOTHING IS WRONG. BOTH
TIMES OF CHECKING THE OIL, THE CAR WAS IN MY GARAGE, STATIONARY,
ON LEVEL GROUND.


NHTSA ID Number: 11098343
Incident Date May 26, 2018
Consumer Location SEATTLE, WA
Vehicle Identification Number 5J6RW2H97HL****
Summary of Complaint
THERE IS CERTAINLY AN EXCESS AMOUNT OF GAS MIXED IN ENGINE OIL.
ONLY FEW WEEKS AFTER OIL CHANGE, THE OIL LEVEL IS ALREADY 20 MM
ABOVE THE MAX LINE. IT'S CERTAINLY A DESIGN FLAW AND I THINK HONDA
SHOULD BE RESPONSIBLE FOR THIS MISTAKE AND THE CUSTOMERS. IT'S
HUGE SAFETY CONCERN AND HOPE THE RELEVANT RESOURCES CAN TAKE
ACTION TO INVESTIGATE THIS ISSUE.


NHTSA ID Number: 11098520
Date of Incident: 05/29/2018
Consumer Location: CAMDEN, AR
Vehicle Identification No. (VIN): 5J6RM3H3XGL...
SUMMARY:
OIL ISSUE..THERE SEEMS TO BE A RECALL ON HONDA VEHICLES IN CHINA
DUE TO GASOLINE FLOWING INTO THE OIL..MY SON WAS CHECKING THE OIL
AND IT SMELLS LIKE GAS...I HOPE THIS DOES NOT CASE A FIRE HAZARD AS
MY OIL NOW HAS BECOME GASOLINE. YET NO RECALL IN AMERICA WHY?




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     97.    Additionally, the following are some examples of the many

complaints submitted to ODI by Honda Civic owners.

  NHTSA ID Number: 11090346
  Date of Incident: 02/13/2018
  Consumer Location: JACKSONVILLE, FL
  Vehicle Identification No. (VIN): 19XFC1F30HE...
  SUMMARY:
  2016 NEW HONDA CIVIC 2.0 ENGINE OIL LEAKING ! ! ! 2017 NEW HONDA CIVIC
  1.5T ENGINE OIL INCREASED13 MM THE SAME STATION 2017. NEW HONDA
  CIVIC WIPERS BROKEN , REVERSING RADAR BROKEN INCREASED OIL 13MM IS
  NOT A MALFUNCTION! ENGINE OIL INCREASED, REPAIRED TWICE, NOT
  REPAIRED, HONDA SAID NO WAY


  NHTSA ID Number: 11083635
  Date of Incident: 04/06/2018
  Consumer Location: SCHWENKSVILLE, PA
  Vehicle Identification No. (VIN): 19XFC1F98HE...
  SUMMARY:
  I HAVE A 2017 HONDA CIVIC WITH THE 1.5 LITER TURBO. I STARTED SEEING
  LOTS OF INFORMATION ON THE CIVIC FORUM ABOUT OIL DILUTION SO I
  DECIDED TO HAVE MY ENGINE OIL ANALYZED. THE REPORT CAME BACK
  SAYING THAT THE AMOUNT OF FUEL IN MY OIL WAS GREATER THAN 5%
  WHICH WAS DEEMED CRITICAL . THIS CONDITION WILL CAUSE ENGINE
  FAILURE AND POSSIBLE UNSAFE CONDITIONS.




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                        CLASS ACTION ALLEGATIONS

      98.    Plaintiffs bring this action on behalf of themselves, and on behalf of

the following nationwide class pursuant to FED. 23(a), 23(b)(2), and/or 23(b)(3).

Specifically, the nationwide class consists of the following:

      Nationwide Class:
      All persons or entities in United States who are current or former owners
      and/or lessees of a Class Vehicle (the “Nationwide Class”).

      99.    In the alternative to the Nationwide Class, and pursuant to Fed. R.

Civ. P. 23(c)(5), Plaintiffs seek to represent the following state classes only in the

event that the Court declines to certify the Nationwide Class above:

      Minnesota Class:
      All persons or entities in Minnesota who are current or former owners and/or
      lessees of a Class Vehicle (the “Minnesota Class”).

      Florida Class:
      All persons or entities in Florida who are current or former owners and/or
      lessees of a Class Vehicle (the “Florida Class”).

      California Class:
      All persons or entities in California who are current or former owners and/or
      lessees of a Class Vehicle (the “California Class”).

      Georgia Class:
      All persons or entities in Georgia who are current or former owners and/or
      lessees of a Class Vehicle (the “Georgia Class”).


      100. Together, the Minnesota Class, Florida Class, California Class and

Georgia Class shall be collectively referred to herein as the “State Sub-Classes.”

Excluded from the Classes are Defendant, its affiliates, employees, officers and

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directors, persons or entities that purchased the Class Vehicles for resale, and the

Judge(s) assigned to this case. Plaintiffs reserve the right to modify, change or

expand the Class definitions.

      101. Numerosity: Upon information and belief, the Classes are so

numerous that joinder of all members is impracticable. While the exact number and

identities of individual members of the Classes are unknown at this time, such

information being in the sole possession of Honda and obtainable by Plaintiffs only

through the discovery process, Plaintiffs believe that thousands of Class Vehicles

have been sold and leased in each of the states that are the subject of the Classes.

      102. Existence and Predominance of Common Questions of Fact and Law:

Common questions of law and fact exist as to all members of the Classes. These

questions predominate over the questions affecting individual Class members.

These common legal and factual questions include, but are not limited to:

          a. whether the engines in the Class Vehicles are predisposed to

             premature failure;

          b. whether the engines in the Class Vehicles contain a manufacturing or

             other defect;

          c. whether the defective PCV system is common to all or some of the

             Class Vehicles;

          d. if so, whether the Engine Defect causes engines to fail in the Class



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            Vehicles;

         e. whether Defendant knowingly failed to disclose the existence and

            cause of the Engine Defect in Class Vehicles;

         f. whether Defendant’s conduct violates the Minnesota, Florida,

            California and/or Georgia consumer protection statutes;

         g. whether, as a result of Defendant’s omissions and/or

            misrepresentations of material facts related to the Engine Defect,

            Plaintiffs and members of the Class have suffered ascertainable loss of

            monies and/or property and/or value;

         h. whether, as a result of Defendant’s omissions and/or

            misrepresentations of material facts related to the Engine Defect,

            Plaintiffs and members of the Class have suffered an increased cost of

            maintenance related to the Class Vehicles; and

         i. whether Plaintiffs and Class members are entitled to monetary

            damages and/or other remedies and, if so, the nature of any such

            relief.

      103. Typicality: All of the Plaintiffs’ claims are typical of the claims of the

Classes since Plaintiffs purchased Class Vehicles with Engine Defects and

defective vehicle designs, as did each member of the Class. Furthermore, Plaintiffs

and all members of the Classes sustained monetary and economic injuries



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including, but not limited to, ascertainable loss arising out of Honda’s wrongful

conduct. Plaintiffs are advancing the same claims and legal theories on behalf of

themselves and all absent Class members.

      104. Adequacy: Plaintiffs are adequate representatives because their

interests do not conflict with the interests of the Classes that they seek to represent,

they have retained counsel competent and highly experienced in complex class

action litigation, and they intend to prosecute this action vigorously. The interests

of the Classes will be fairly and adequately protected by Plaintiffs and their

counsel.

      105. Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiffs and members of the

Classes. The injury suffered by each individual Class member is relatively small in

comparison to the burden and expense of individual prosecution of the complex

and extensive litigation necessitated by Honda’s conduct. It would be virtually

impossible for members of the Classes to individually and effectively redress the

wrongs done to them. Even if the members of the Classes could afford such

individual litigation, the court system could not. Individualized litigation presents a

potential for inconsistent or contradictory judgments. Individualized litigation also

increases the delay and expense to all parties, and to the court system, presented by

the complex legal and factual issues of the case. By contrast, the class action



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device presents far fewer management difficulties, and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single

court. Upon information and belief, members of the Classes can be readily

identified and notified based on, inter alia, Honda’s vehicle identification numbers

(VINs), warranty claims, registration records, and the database of complaints.

      106. Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Honda has

acted or refused to act on grounds generally applicable to the Classes, thereby

making appropriate final injunctive relief, corresponding declaratory relief, or final

equitable relief with respect to the class as a whole.

                            VIOLATIONS ALLEGED

                            COUNT I
   VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER
             FRAUD ACT (MINN. STAT. §§ 325F.68-70)
                (On Behalf of the Minnesota Class)


      107. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      108. Plaintiffs and members of the Classes are each “persons” as defined

by the Minnesota Prevention of Consumer Fraud Act (“MPCFA”), MINN. STAT.

§ 325F.68(2). The Class Vehicles sold or leased to Plaintiffs and the Classes are

“Merchandise” as defined by MINN. STAT. § 325F.68(2).

      109. The MPCFA makes unlawful “[t]he act, use, or employment by any



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person of any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice, with the intent that others rely thereon in

connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1). The

MPCFA further provides that “any person injured by a violation of [the MPCFA]

may bring a civil action and recover damages, together with costs and

disbursements, including costs of investigation and reasonable attorney's fees, and

receive other equitable relief as determined by the court.” MINN. STAT. § 8.31(3a).

      110. Defendant engaged in unlawful conduct in violation of the MPCFA by

making knowing and intentional omissions. Defendant knowingly failed to

disclose the manufacturing and/or material Engine Defect in the Class Vehicles in

order to secure the sale of the Vehicles at a premium price.

      111. Furthermore, when the engines in the Class Vehicles fail to function

properly and require repair due to the Engine Defect, Defendant also does not

reveal to Class members that such premature engine failure is the result of a

manufacturing and/or material defect actually caused by Defendant. Instead, Class

members are forced to pay out of pocket for repairs necessitated by Defendant’s

defective product.

      112. Defendant did not fully and truthfully disclose to its customers the

true nature of the inherent defect in the engines, which was not readily



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discoverable until after the Vehicles were purchased. As a result, Plaintiffs and the

other Class members were fraudulently induced to lease and/or purchase the Class

Vehicles with the said Engine Defect and all of the resultant problems. These facts

that Defendant concealed were solely within its possession.

        113. Defendant intended that Plaintiffs and all Class members rely on the

acts of concealment and omissions, so that they would purchase the Class

Vehicles.

        114. Defendant’s conduct caused Plaintiffs and Class members to suffer an

ascertainable loss. In addition to direct monetary losses, Plaintiffs and Class

members have suffered an ascertainable loss by receiving less than what was

promised.

        115. A causal relationship exists between Defendant’s unlawful conduct

and the ascertainable losses suffered by Plaintiffs and the Classes. Had the Engine

Defect in the Class Vehicles been disclosed, consumers would not have purchased

them or would have paid less for the Class Vehicles had they decided to purchase

them.

        116. Plaintiffs and the Classes sustained damages as a result of Defendant’s

unlawful acts and are, therefore, entitled to damages and other relief as provided

under the MPCFA.




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                              COUNT II
                   VIOLATION OF THE FLORIDA
           DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                     (FLA. STAT. § 501.201, et seq.)
                    (On Behalf of the Florida Class)

      117. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      118. The purpose of the Florida Deceptive and Unfair Trade Practices Act

(“FDUTPA”) is “to protect the consuming public and legitimate business

enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce.” FLA. STAT. § 501.202 (2).

      119. Defendant has engaged in unfair competition and unfair, unlawful or

fraudulent business practices by the practices described above, and by knowingly

and intentionally concealing from Plaintiffs and Class members the fact that the

Class Vehicles suffer from a manufacturing and design defect (and the costs, risks,

and diminished value of the Vehicles resulting from this problem), which was not

readily discoverable until after purchase. Defendant should have disclosed this

information because it was in a superior position to know the true facts related to

this defect, and Plaintiffs and Class members could not reasonably be expected to

learn or discover the true facts related to this defect until after manifestation of the




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defect.

      120. These unfair methods of competition and unfair and deceptive acts

have caused injuries to Plaintiffs and members of the Classes.

                                COUNT III
                        BREACH OF THE IMPLIED
                 WARRANTY OF MERCHANTABILITY
      (Pursuant to the Song-Beverly Act California Civil Code § 1791.1)
                     (On Behalf of the California Class)

      121. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      122. Plaintiffs bring this cause of action against Defendant on behalf of

themselves and on behalf of the members of the California Class.

      123. Defendant was at all relevant times the manufacturer, distributor,

warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to

know of the specific use for which the Class Vehicles were purchased.

      124. Defendant provided Plaintiffs and Class Members with an implied

warranty that the Class Vehicles and any parts thereof are merchantable and fit

for the ordinary purposes for which they were sold. However, the Class Vehicles

are not fit for their ordinary purpose of providing reasonably reliable and safe

transportation because, inter alia, the Class Vehicles and their engines suffered

from an inherent defect at the time of sale and thereafter are not fit for their

particular purpose of providing safe and reliable transportation.



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      125. Defendant impliedly warranted that the Class Vehicles were of

merchantable quality and fit for such use. This implied warranty included, among

other things: (i) a warranty that the Class Vehicles and their engines were

manufactured, supplied, distributed, and/or sold by Defendant were safe and

reliable for providing transportation; and (ii) a warranty that the Class Vehicles

and their engines would be fit for their intended use while the Class Vehicles

were being operated.

      126. Contrary to the applicable implied warranties, the Class Vehicles and

their engines at the time of sale and thereafter were not fit for their ordinary and

intended purpose of providing Plaintiffs and the Class Members with reliable,

durable, and safe transportation. Instead, the Class Vehicles are defective, for

reasons including but not limited to the defective design and manufacture of their

engines.

      127. Defendant’s actions, as complained of herein, breached the implied

warranty that the Class Vehicles were of merchantable quality and fit for such

use in violation of California Civil Code §§ 1792 and 1791.1.

                                COUNT IV
               VIOLATION OF CALIFORNIA’S CONSUMER
                        LEGAL REMEDIES ACT
                   (California Civil Code § 1750 et seq.)
                    (On Behalf of the California Class)

      128. Plaintiffs and the Classes incorporate by reference each preceding and



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succeeding paragraph as though fully set forth at length herein.

      129. Plaintiffs bring this cause of action on behalf of themselves and on

behalf of the members of the California Class.

      130. Defendant is a “person” as defined by California Civil Code

§ 1761(c).

      131. Plaintiffs and Class Members are “consumers” within the meaning

of California Civil Code § 1761(d).

      132. By failing to disclose and concealing the defective nature of the

Class Vehicles’ engines from Plaintiffs and prospective Class Members,

Defendant violated California Civil Code § 1770(a), as it represented that the

Class Vehicles and their engines had characteristics and benefits that they do not

have, and represented that the Class Vehicles and their engines were of a

particular standard, quality, or grade when they were of another. See Cal. Civ.

Code §§ 1770(a)(5), (7).

      133. Defendant’s unfair and deceptive acts or practices occurred

repeatedly in Defendant’s trade or business, were capable of deceiving a

substantial portion of the purchasing public, and imposed a serious safety risk on

the public.

      134. Defendant knew that the Class Vehicles and its engines suffered

from an inherent defect, were defectively designed or manufactured, would fail



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prematurely, and were not suitable for their intended use.

      135. Defendant was under a duty to Plaintiffs and the Class Members to

disclose the defective nature of the engines and/or the associated repair costs

because:

           a. Defendant was in a superior position to know the true state of facts
              about the safety defect in the Class Vehicles’ engines;

           b. Plaintiffs and the Class Members could not reasonably have been
              expected to learn or discover that their engines had a dangerous
              safety defect until the Engine Defect manifested; and

           c. Defendant knew that Plaintiffs and the Class Members could not
              reasonably have been expected to learn or discover the Engine
              Defect.

      136. In failing to disclose the defective nature of the engines, Defendant

has knowingly and intentionally concealed material facts and breached its duty

not to do so.

      137. The facts concealed or not disclosed by Defendant to Plaintiffs and

the Class Members are material in that a reasonable consumer would have

considered them to be important in deciding whether or not to purchase the Class

Vehicles or pay a lesser price. Had Plaintiffs and other Class Members known

that the Class Vehicles’ engines were defective, they would not have purchased

the Class Vehicles or would have paid less for them.

      138. Plaintiffs and the Class Members are reasonable consumers who do

not expect the engines installed in their vehicles to fail prematurely. This is the


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reasonable and objective consumer expectation relating to the Class Vehicles.

      139. As a result of Defendant’s conduct, Plaintiffs and Class Members

have been harmed and have suffered actual damages in that the Class Vehicles

have experienced and will continue to experience premature engine failures.

      140. As a direct and proximate result of Defendant’s unfair or deceptive

acts or practices, Plaintiffs and Class Members have suffered and will continue

to suffer actual damages.

      141. Plaintiffs and the Class Members are entitled to equitable relief.

      142. Plaintiff Bautista on behalf of himself and all prospective Class

Vehicle owners provided Defendant with notice of its alleged violations of the

CLRA pursuant to California Civil Code § 1782(a). Defendant failed to provide

appropriate relief for its violations of the CLRA in response to notice.

Accordingly, Plaintiffs also seek monetary and compensatory damages from

Defendant in addition to the injunctive and equitable relief that is currently sought.

                                  COUNT V
                       UNFAIR COMPETITION AND
                 UNLAWFUL CONDUCT OR PRACTICES
           (California Business & Professions Code § 17200, et seq.)
                      (On Behalf of the California Class)

      143. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      144. Plaintiffs bring this cause of action on behalf of themselves and on



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behalf of the California Class.

      145. California Business & Professions Code § 17200 prohibits acts of

“unfair competition,” including any “unlawful, unfair or fraudulent business act

or practice” and “unfair, deceptive, untrue or misleading advertising.”

      146. Plaintiffs and the Class Members are reasonable consumers who do

not expect their engines to prematurely fail.

      147. Defendant knew the Class Vehicles and their engines suffered from

inherent defects, were defectively manufactured, would fail prematurely, and

were not suitable for their intended use.

      148. In failing to disclose the Engine Defect, Defendant has knowingly

and intentionally concealed material facts and breached its duty not to do so.

      149. Defendant was under a duty to Plaintiffs and the Class Members to

disclose the defective nature of the Class Vehicles and their engines:

         d. Defendant were in a superior position to know the true state of facts
            about the safety defect in the Class Vehicles’ engines;

         e. Defendant made partial disclosures about the quality of the Class
            Vehicles without revealing the defective nature of the Class Vehicles
            and their engines; and

         f. Defendant actively concealed the defective nature of the Class
            Vehicles and their engines from Plaintiffs and the Class.

      150. The facts concealed or not disclosed by Defendant to Plaintiffs and

the Class Members are material in that a reasonable person would have

considered them to be important in deciding whether to purchase Class Vehicles.

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Had Plaintiffs and other Class Members known that the Class Vehicles’ engines

were defective and posed a safety hazard, then Plaintiffs and the other Class

Members would not have purchased Class Vehicles, or would have paid less for

them.

        151. Defendant continued to conceal the defective nature of the Class

Vehicles and their engines even after Class Members began to report problems.

Indeed, Defendant continues to cover up and conceal the true nature of the

problem.

        152. By its conduct, Defendant has engaged in unfair competition and

unlawful, unfair, and fraudulent business practices.

        153. Defendant’s unfair or deceptive acts or practices occurred repeatedly

in Defendant’s trade or business, and were capable of deceiving a substantial

portion of the purchasing public.

        154. As a direct and proximate result of Defendant’s unfair and deceptive

practices, Plaintiffs and the Class have suffered and will continue to suffer actual

damages.

        155. Defendant has been unjustly enriched and should be required to

make restitution to Plaintiffs and the Class pursuant to §§ 17203 and 17204 of the

California Business & Professions Code.




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                                  COUNT VI
                        VIOLATION OF THE GEORGIA
                       FAIR BUSINESS PRACTICES ACT
                         (On Behalf of the Georgia Class)

      156. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      157. Plaintiffs bring this cause of action on behalf of themselves and on

behalf of the Georgia Class.

      158. In accordance with the statutory requirements of Georgia's Fair

Business Practices Act, Plaintiff Hamilton provided Defendant with a demand

letter outlining an opportunity to make a written offer of settlement of this claim on

behalf of Mr. Hamilton and all putative class members within 30 days. Defendant

did not respond to said letter.

      159. Defendant’s practices, acts, policies, and course of conduct, including

its omissions, as described above, were intended to induce, and did induce,

Plaintiff Hamilton and members of the Georgia Class to purchase the above-

mentioned Class Vehicles with the Engine defect.

      160. Defendant sold and/or leased the Class Vehicles knowingly

concealing that they contained the defects alleged.

      161. Defendant’s acts are and were deceptive acts or practices which are

and/or were, likely to mislead a reasonable consumer purchasing the Class

Vehicles. Honda’s aforementioned deceptive acts and practices are material, in

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part, because they concern an essential facet of the Class Vehicles’ safety, cost,

durability, performance, or quality. The sale and distribution of the Class Vehicles

in Georgia was a consumer-oriented act and thereby falls under the Georgia's Fair

Business Practices Act.

      162. Defendant’s practices, acts, policies and course of conduct violated

the Georgia's Fair Business Practices Act in that:

         a. At the time of sale, Defendant knowingly misrepresented and
            intentionally omitted and concealed material information regarding
            the Class Vehicles by failing to disclose to Plaintiff Hamilton and the
            Georgia Class Members the known Engine Defect and the known
            risks associated therewith.

         b. Thereafter, Defendant failed to disclose the defects to Plaintiff, and
            the Georgia Class Members, either through warnings or recall notices,
            and/or actively concealed from them the Engine Defect, despite the
            fact that the company knew of such defects: (1) at the time of
            manufacturing; (2) at the point where NHTSA began to record
            complaints about the defect; and, at the very latest, (3) when similar
            vehicles were recalled in China as detailed herein.

         c. Defendant forced Plaintiff and the Georgia Class Members to expend
            time and/or money to attempt to remedy the Engine Defect, despite
            the fact that Defendant had prior knowledge of the defect at the time
            of purchase or thereafter.

         d. Defendant also engaged in materially misleading deceptive acts and
            practices by advertising and selling a limited warranty while knowing
            that significant portions of the damages resulting from the known, but
            concealed, Engine Defect would not be revealed to the consumer until
            after coverage expired thereunder and that many of the engines may
            fail prematurely, but outside the warranty period.

         e. Furthermore, Defendant engaged in materially misleading and
            deceptive acts by continuing to sell the Class Vehicles to the
            consuming public and to represent that these vehicles were in good

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             working order, merchantable, and not defective, despite Defendant’s
             knowledge that the vehicles would not perform as intended,
             represented, and warranted and that the Engine Defect would cause
             purchasers to incur significant out-of-pocket costs and expenses.

      163. Plaintiff and the Georgia Class Members justifiably relied upon

Honda’s representations in its maintenance schedule that stated that "[i]t is

essential that you have your car serviced as scheduled to retain its high level of

safety, dependability, and emissions control performance."

      164. Specifically, Honda's maintenance schedule provides that under

"Normal Conditions" the engine oil need only be replaced every 7,500 miles or 12

months, or every 3,750 or 6 months under "Severe Conditions".

      165. Nowhere within the owners' manual or maintenance schedule does

Honda indicate that the Engine Defect exists, or that oil changes must be done

more frequently than as specified within the maintenance schedule to retain the

Class Vehicles’ “high level of safety, dependability, and emissions control

performance.”

      166. Despite the fact that Plaintiff and other Class Vehicle owners have

confronted Honda about the apparent falsity of the above representations, Honda

has not disclosed the Engine Defect, asserting special knowledge.

      167. The aforementioned conduct is and was deceptive and false and

constitutes an unconscionable, unfair, and deceptive act or practice in that

Defendant has, through knowing, intentional, and material omissions, concealed


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the Engine Defect.

       168. By making these misrepresentations of fact and/or material omissions

to prospective customers while knowing such representations to be false,

Defendant has misrepresented and/or knowingly and intentionally concealed

material facts and breached its duty not to do so.

       169. Members of the public were deceived by Defendant’s failure to

disclose and could not discover the defect themselves before suffering their

injuries.

       170. Had Plaintiff and the other Class Members known about the existence

of the Engine they would not have purchased or leased their Class Vehicles and/or

paid as much for them. As such Plaintiff and the other Class Members overpaid for

their Class Vehicles and did not receive the benefit of their bargain.

       171. As a direct and proximate result of these unconscionable, unfair, and

deceptive acts or practices, Plaintiff and the Georgia Class Members have been

injured as alleged herein and are entitled to recover actual and/or statutory

damages to the extent permitted by law, in an amount to be proven at trial.

       172. Plaintiff and Georgia Class Members also seek appropriate equitable

relief, including an order requiring Honda to adequately disclose and remediate the

Engine Defect and an order enjoining Honda from selling vehicles with the Engine

Defect in the future.



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                                 COUNT VII
                  BREACH OF EXPRESS WARRANTY
          (On Behalf of the Nationwide Class and State Sub-Classes)

      173. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      174. Defendant expressly warranted that the Class Vehicles were of high

quality and, at a minimum, would actually work properly. Defendant also

expressly warranted that it would repair and/or replace defects in material and/or

workmanship free of charge that occurred during the New Vehicle Limited

Warranty, Powertrain Limited Warranty and certified pre-owned (“CPO”)

warranty periods.

      175. Defendant breached these warranties by selling to Plaintiffs and Class

members the Class Vehicles with known engine problems, which are not of high

quality, and which fail prematurely and/or fail to function properly.

      176. As a result of the Defendant’s actions, Plaintiffs and Class members

have suffered economic damages including but not limited to costly repairs, loss of

vehicle use, substantial loss in value and resale value of the vehicles, and other

related damage.

      177. Defendant’s attempt to disclaim or limit these express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendant’s warranty limitations are unenforceable because it



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knowingly sold a defective product without informing consumers about the

manufacturing and/or material defect. Furthermore, Defendant continues to charge

Class members for repairing the defective engines—if it repairs them at all—when

in fact such repairs are actually necessitated because of Defendant’s defective

product.

      178. The time limits contained in Defendant’s warranty periods were also

unconscionable and inadequate to protect Plaintiffs and members of the Class.

Among other things, Plaintiffs and Class members had no meaningful choice in

determining these time limitations, the terms of which unreasonably favored

Defendant. A gross disparity in bargaining power existed between Honda and

Class members, and Honda knew or should have known that the Class Vehicles

were defective at the time of sale and would fail well before their useful lives.

      179. Plaintiffs and Class members have complied with all obligations

under the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendant’s conduct described herein.

                                 COUNT VIII
                   BREACH OF IMPLIED WARRANTY
           (On Behalf of the Nationwide Class and State Sub-Classes)

      180. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      181. A warranty that the Class Vehicles were in merchantable condition is



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implied by law.

      182. These Class Vehicles, when sold and at all times thereafter, were not

in merchantable condition and are not fit for the ordinary purpose for which cars

are used. Specifically, the Class Vehicles are inherently defective in that there are

defects in the Class Vehicles’ engines, which are not of high quality, and which

fail prematurely and/or fail to function properly.

      183. Defendant was provided notice of these issues by numerous informal

and formal complaints filed against them, including the instant Complaint, and by

numerous individual letters and communications sent by Plaintiffs and other Class

members.

      184. As a direct and proximate result of Defendant’s breach of the

warranties of merchantability, Plaintiffs and the other Class members have been

damaged in an amount to be proven at trial.

                                  COUNT IX
                           COMMON LAW FRAUD
           (On Behalf of the Nationwide Class and State Sub-Classes)

      185. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      186. Defendant made material omissions concerning a presently existing or

past fact. For example, Defendant did not fully and truthfully disclose to its

customers the true nature of the inherent design defect with the Class Vehicles’



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engines, which was not readily discoverable until after the Vehicles were

purchased. As a result, Plaintiffs and the other Class members were fraudulently

induced to lease and/or purchase the Class Vehicles with the said Engine Defect

and all of the resultant problems.

      187. These omissions were made by Defendant with knowledge of their

falsity, and with the intent that Plaintiffs and Class members rely upon them.

      188. Plaintiffs and Class members reasonably relied on these omissions,

and suffered damages as a result.

                                COUNT X
               BREACH OF THE DUTY OF GOOD FAITH
                           AND FAIR DEALING
      (On Behalf of the Minnesota, California and Georgia Sub-Classes)

      189. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      190. Every contract in Minnesota, California and Georgia contain an

implied covenant of good faith and fair dealing. The implied covenant of good

faith and fair dealing is an independent duty and may be breached even if there is

no breach of a contract's express terms.

      191. Defendant breached the covenant of good faith and fair dealing

through malicious conduct by, inter alia, failing to notify Plaintiffs and Class

members of the Engine Defect in the Class Vehicles, and failing to fully and

properly repair this defect.

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      192. Defendant acted in bad faith and/or with a malicious motive to deny

Plaintiffs and Class members some benefit of the bargain originally intended by

the parties, thereby causing them injuries in an amount to be determined at trial.

                                  COUNT XI
                           UNJUST ENRICHMENT
           (On Behalf of the Nationwide Class and State Sub-Classes)

      193. Plaintiffs and the Class incorporate the foregoing allegations. This

count is pled in the alternative to the contract-based claims.

      194. Plaintiffs and members of the Class conferred a benefit on Defendant.

      195. Defendant had knowledge that this benefit was conferred upon it.

      196. Defendant has been and continues to be unjustly enriched at the

expense of Plaintiffs, and its retention of this benefit under the circumstances

would be inequitable.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and members of the

Classes, respectfully requests that this Court:

      A.     determine that the claims alleged herein may be maintained as a class

             action under Rule 23 of the Federal Rules of Civil Procedure, and

             issue an order certifying the Classes as defined above;

      B.     appoint Plaintiffs as the representative of the Classes and their counsel

             as Class counsel;



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     C.    award all actual, general, special, incidental, statutory, and

           consequential damages to which Plaintiffs and Class members are

           entitled;

     D.    award pre-judgment and post-judgment interest on such monetary

           relief;

     E.    grant appropriate injunctive and/or declaratory relief, including,

           without limitation, an order that requires Defendant to repair, recall,

           and/or replace the Class Vehicles and to extend the applicable

           warranties to a reasonable period of time, or, at a minimum, to

           provide Plaintiffs and Class members with appropriate curative notice

           regarding the existence and cause of the design defect;

     F.    award reasonable attorney’s fees and costs; and

     G.    grant such further relief that this Court deems appropriate.


Dated: November 30, 2018


                       Respectfully submitted,


                       GUSTAFSON GLUEK PLLC

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